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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

IN RE:

)
)
PROMISE HEALTHCARE GROUP, L.L.C., > ease No. 18-12491
ETAL., )

)

)

Debtor.

NOTICE OF APPEARANCE AND REQUEST FOR COPIES

 

OF ALL NOTICES, PLEADINGS AND ORDERS
PLEASE TAKE NOTICE that the undersigned hereby appears as
counsel for William A. Catlett, L.L.C., a party-in-interest, and
pursuant to Rule 9007, 90lO(b) and Rule 2002(a) cf the Federal
Rules Of Bankruptcy Procedure and Section llOQ(b) cf the Bankruptcy
Code, hereby requests that all notices given Or required to be
given in this ease and all papers served Or required to be served

in this case, be given to and served upOn:

William A. Catlett

Dill Bamvakais Building
9939 Gravois ROad

St. Louis, MO 63123

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william@catlett. bi/

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WILL:AM A. CATLE!/TV#T/€ng

 

Atto erney for Creditor

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CERTIFICATE OF SERVICE
l certify that a true and correct copy of the foregoing
document was filed electronically on /D , 20l8 with the
United States Bankruptcy Court, and has been served on the parties
in interest via e-mail by the Court’s CM/ECF System as listed on
the Court’s Electronic Mail Notice List.

l certify that a true and correct copy of the foregoing
document was filed electronically with the United States Ban}<;ruptcy
Court, and has been served by Regular United States Mail Service,

first class, posta fully pre-paid, addressed to the parties
listed below on §§;£¢2 éd {Q, 2018.

  

MMC/;M

WILLIAM A. CATLETT

 

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